            Case 1:18-cr-00473-UNA Document 1 Filed 12/04/18 Page 1 of 4
.
'




                                                                                FILED IN C
                                                                                           HAiVIBER           S
                                                                                    U.s.o.c. -
                                                                                               Atlanta

                                                                                   DEC
                                                                            ·


                                                                                          -   4 2018
                    IN THE UNITED STATES DISTRICT COURT
                                                          y: James N.
                   FOR THE NORTHERN DISTRICT OF GEORGIA B                                             c1 k
                                                                                          H·      ,




                                                                                                      Clerk
                                 ATLANTA DIVISION
                                                                                              I



                                  -




      UNITED ST ATES OF AMERICA

             v.                                Criminal Indictment

      FARAMARZ SHARI SAV ANDI                  No.   1   •
                                                         ·       , .  ;; i""j
                                                             1 8 r· R"4   ' 3

      AND MOHAMMED MEHDI SHAH
      MANSOURI


    THE GRAND JURY CHARGES THAT:


                                      Introduction

       1. On or about March 10, 2018 through on or about March 22, 2018, the

    defendants, FARAMARZ SHARI SAVANDI and MOHAMMED MEHDI SHAH

    MANSOURI, both of whom are Iranian nationals, caused the execution of                a


    "ransomware" attack against the City of Atlanta, which encrypted vital City of

    Atlanta computer systems, and demanded a ransom payment to restore access.

       2. The attack was executed by the use of a type g,f malware (or

    "ransomware") referred to as "SamSam Ransomware," which infected

    approximately 3,789 computers belonging to the City of Atlanta, including

    servers and workstations. Once deployed, the ransomware encrypted the files

    associated with each infected computer and displayed a ransom note. That is,

    the ransomware effectively locked the infected computers and made it

    impossible to access the information stored on them without a decryption key.
           Case 1:18-cr-00473-UNA Document 1 Filed 12/04/18 Page 2 of 4




   3. The ransom note demanded .8 Bitcoinl to decrypt each affected computer or

6 Bitcoin to decrypt all affected computers. That is, the attackers gave the City of

Atlanta the option of paying to decrypt certain computers (at a rate of .8 Bitcoin

per computer) or to decrypt all the infected computers (for 6 Bitcoin). The ransom

note directed the City of Atlanta to a particular Bitcoin address2 to pay the ransom

and supplied a web domain that could only be accessed using a TOR browser; the

note suggested that the City of Atlanta could download the decryption key from

that website. But, in the days following the attack, the webpage that purportedly

contained the decryption key became inaccessible, and the City of Atlanta did not

pay the ransom.

   4. The attack significantly disrupted City of Atlanta operations, impaired

certain governmental functions, and caused it to incur significant expenses in the

coming weeks and months.




   1   Bitcoin is a decentralized digital currency that may be used to purchase
goods and services online, or traded on online exchanges for conventional
currencies, including the U.S. dollar and the Euro.

   2 A Bitcoin address is somewhat analogous to a bank account number and is
represented as a 26-to-35-character-long case-sensitive string of letters and
numbers. Each Bitcoin address is controlled through the use of a unique
corresponding private key, a cryptographic equivalent of a password or PIN
needed to access the address. Only the holder of an address's private key can
authorize any transfers of Bitcoin from that address to other Bitcoin addresses.

                                          2
           Case 1:18-cr-00473-UNA Document 1 Filed 12/04/18 Page 3 of 4




                                        Countl

            (Computer Fraud and Abuse: Intentionally Causing Damage)
                               (18 U.S.C.   § 1030(a)(5)(A))
      5.    On or about March 10, 2018 through on or about March 22, 2018, in the

Northern District of Georgia and elsewhere, the defendants, FARAMARZ SHAHI

SAVANDI and MOHAMMED MEHDI SHAH MANSOURI, _aided and abetted by

each other, knowingly caused the transmission of a program, information, code,

and command, that is, "SamSam Ransomware," and as a result of such conduct,

intentionally caused damage without authorization to a protected computer with

the offense loss aggregating at least $5,000 in value to at least one person during a

one-year period from a related course of conduct affecting a protected computer

and a threat to public health and safety, and damage affecting at least ten protected

computers during a one-year period.

   All in violation of Title 18, United States Code, Sections 1030(a)(5)(A), 1030(b),

1030(c)(4)(B) and Section 2.
                                                    ,..-,-.
                                              A   _ _,_(-"-r_""-_______
                                                                 c.    _      BILL




                                                              FOREPERSON
BYUNG J. PAK
4�nftd;w:;ey
� AN P. KITCHENS



  A   istant United States Attorney
Georgia Bar No. 805055

                                              3
        Case 1:18-cr-00473-UNA Document 1 Filed 12/04/18 Page 4 of 4




600 U.S. Courthouse
75 Ted Turner Drive SW
Atlanta, GA 30303




                                     4
